 

Exhibit A

IN THE UNITED STATES DISTRICT C()URT
FOR THE MIDDLE DISTRICT ()F PENNSYLVANIA

THE PUBLIC INTEREST LEGAL

FOUNDATION,
Plaintiff,

v. : NO. 1:18-CV-00463
ROBERT TORRES, in his official : CHIEF JUDGE CONNER
Capacity as Acting Secretary of the .

Commonwealth of Pennsylvania, and : ELECTRONICALLY FILED

JONATHAN M. MARKS, in his official
Capacity as the Commissioner of the
Bureau of Commissions, Elections and
Legislation,

Defendants.

 

DEFENDANTS’ SUR REPLY IN FURTHER SUPPORT
OF MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)

 

The Sur Reply filed by The Public lnterest Legal Foundation (“PILF”) (ECF
No. 20) does nothing to salvage PILF’s defective Complaint. The letter sent to
persons potentially affected by the Motor Voter electronic system error and the
communication from the Department of State concerning the error do not establish
or confirm a program or activity subject to public inspection under the National

Voter Registration Act (“NVRA”), 52 U.S.C. § 20507(i). Further, contrary to

 

PlLF’s assertion, Defendants’ Reply Brief (ECF No. l7) did not misstate the facts

or the laW.

As explained in both Defendants’ opening and reply briefs (ECF Nos. l2,
17), the NVRA only requires states to implement programs to remove registrants
Who have died or moved away. Pennsylvania’s list maintenance programs are
aimed at removing registrants for these reasons and make no provision for
investigation or removal of suspected non-citizens See 25 Pa. C.S.A. § l9()l
(Removal of electors). The April 27, 2018 letter to 7702 registered voters does not
relate to death or change of residence and is not part of Pennsylvania’s list
maintenance programs. The letter does not “identify and remove noncitizens” as
PILF claims or announce or effect any cancellations (See Sur Reply at 2; see also
id. at 4, 5.) Rather, the letter affirms voter eligibility requirements and advises
persons potentially affected by the electronic system failure that they may confirm
their own eligibility or contact their county election office if they have questions.
The accompanying statement from the Department of State makes clear that no
voter registrations Were canceled or Will be canceled as a result of the letter. To
the contrary, the statement explains that “there is more analysis to be done” and
that “additional steps” Will be taken at a later date to ensure that individuals

“affirm their eligibility or request cancellation. . . .” (See Pl.’s Sur Reply Br. EX.

A.) PlLF’s characterization of the letter as confirmation of a process for removal

of voters is not accurate1

The letter and statement merely repeat What the Department has consistently
represented: the Department is conducting a privileged analysis of the electronic
system error unrelated to regular list maintenance required by the NVRA or 25 Pa.
C.S.A. § 1901. There are no records related to the privileged analysis Which are

subject to public disclosure under the NVM. PILF fails to state a claim.

Respectf`ully submitted,

/s/ Daniel T. Brier
Daniel T. Brier
Donna A. Walsh

Counsel for Defendants,
Acting Secretary Robert Torres and
Commissioner Jonathan M. Marks
Myers, Brier & Kelly, LLP
425 Spruce Street, Suite 200
Scranton, PA 18503
(570) 342-6100

Dated: May 2l, 2018

 

1 lt bears repeating that records relating to voters Who self-cancel are not
subject to inspection under the NVRA or Pennsylvania laW. PlLF has no right to
the records specified in note 2 of its Sur Reply.

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CERTIFICATE OF SERVICE

l, Daniel T. Brier, hereby certify that a true and correct copy of the foregoing

Sur Reply Memorandum in Further Support of Motion To Dismiss Was served

upon the following counsel of record via the Court’s ECF system on this 21st day

of May, 2018:

J. Christian Adams, Esquire
Noah H. Johnson, Esquire
Public Interest Legal Foundation
32E Washington Street

Suite 1675

Indianapolis, lN 46204

Linda A. Kerns, Esquire

LaW Offices of Linda A. Kerns, LLC
l420Locust Street, Suite 200
Philadelphia, PA 19102

/s/ Daniel T. Brier

